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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FL()RIDA

STATE CONTRACTING & ENGINEERING
CORPORATION, a Florida corporation,

Piamtiff, 9 7 70 1 4

vs. CASE NO.: s
Cl\/'-DAV!S
STATE OF FLORIDA, FLORIDA DEPARTl\/IENT

OF TRANSPORTATION; RECCI-II AM]ERICA, :MAGISTRATE .lUDC/B
INC., a Florida corporation; THE MURPHY _~'<_; BROWN

~CoNsTRUCTIoN Co., a Florida ` '
corporation; THE HARDAWAY COMPANY, a

 

 

JT`" :§

Georgia corporation; HUBBARD CONSTRUCTION ing 2 §§

CoMPANY, a Flon'da corporation; BALFoUR BEATTY 0,';§2 513

C()NSTRUCTION, INC., a Delaware corporation, and; g"“‘;*j § "`
COMMUNITY ASPHALT CORP., a Florida .,,(“; 53 \,

corporation, '; -r_r l__: -- f
§§ f.-:z
Defendants. I-; ."“ §§.'; ‘;;_,
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ORIGINAL COMPLAINT
For its Complaint, the Plaintiff, STATE CONTRACTING & ENGINEERING
CORPORATION, states as follows:
JURISDICTION AND PART[ES

1, The Plaintiff, STATE CONTRACTING & ENGINEERING CORPORATION (“SCEC"),
is a corporation organized under the laws of the state of Florida having its principal place
of business in Fort Lauderdale, Florida.

2, The Defendant, STATE OF FLORIDA, by and through the FLORIDA DEPARTMENT
OF TRANSPORTATION (hereinafter collectively “FDOT”), located in Tallahassee,
Florida, administers public Works related construction throughout the state of Florida.

More specifically, FDOT is responsible for the design, engineering, construction and

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maintenance of road improvement projects within the state of Florida, including the
Southern District of Florida FDOT responsibilities include, among other responsibilities,
the design, engineering, construction and maintenance of sound barrier walls of the type
which are the subject of the claims set forth hereinbelow.

3. The Defendant, RECCHI AMERICA, INC. (hereinafter “RECCHI” or “COMPETING
CONTRACTOR”), is a corporation organized under the laws of the state of Florida,
having its principal place of business in Coral Gables, Dade County, Florida. Upon
information and belief, RECCHI is engaged in the business of road construction and
related projects throughout the state of Florida, including the Southern District of Florida

4. The Defendant, THE MURPHY CONSTRUCTION CO. (hereinafter “MURPHY” or
"COMPETING CONTRACTOR”), is a Florida corporation having its principal place of
business in the city of West Palm Beach, Palm Beach County, Florida Upon
information and belief, MURPHY is engaged in the business of road construction and
related projects throughout the state of Florida, including the Southern District of Florida

5. The Defendant, The HARDAWAY COMPANY (hereinafter "HARDAWAY” or
“COMPETING CONTRACTOR”), is a Georgia corporation having a place of business
address located in Columbus, Georgia. Upon information and belief, HARDAWAY is
engaged in the business of road construction and related projects throughout the state of
Florida, including the Southern District of Florida

6_ The Defendant, HUBBARD CONSTRUCTION COMPANY (hereinafter “HUBBARD"
or “COMPETING CONTRACTOR”), is a Florida corporation having a place of business

address located in Winter Park, Florida Upon information and belief, HARDAWAY is

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engaged in the business of road construction and related projects throughout the state of
Florida, including the Southern District of Florida

7. The Defendant, BALFOUR BEATTY CONSTRUCTION, INC. (hereinafter "BALFOUR"
or "COMPETING CONTRACTOR"), is a Delaware corporation having a place of
business address located in Atlanta, Georgia. Upon information and belief, BALFOUR
is engaged in the business of road construction and related projects throughout the state
of Florida, including the Southern District of Florida

8. The Defendant, COMMUNITY ASPHALT CORP., (hereinafter "COMl\/IUNITY" or
"COMPETING CONTRACTOR"), is a Florida corporation having a principal place of
business address located in Fort Lauderdale, Broward County, Florida. Upon information
and belief, COMMUNITY is engaged in the business of road construction and related
projects throughout the state of Florida, including the Southern District of Florida

9_ This is an action arising under the Patent Laws, Trademark Laws & Civil Rights Laws
of the United States, including Title 15, Section 1125(a), Title 35, Section 281 and Title
42, Section 1983.

10. The Court has Jurisdiction pursuant to 28 U.S,C. §§ 1331, 1343(3), 1338; 15 U.S.C. §
1121; and, the principles of pendant jurisdiction

ll_ Venue is proper in this District under 28 U.S.C. §§l39l(b), 139l(c), and 1400.

GENERAL ALLEGATIONS
12. SCEC is engaged in the business of heavy and highway construction
13. At all times material hereto, SCEC was the exclusive licensee and/or owner of all

substantial rights, and the assignee of the proprietary designs, engineering specifications,

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inventions and patent rights from STATE PAVING CORP., a Florida corporation, relating
to an integrated column and pile for use in building structures in sandy soil, including
(i) the right to sue and recover for the unauthorized use of such designs and specifications
and (ii) the right to sue and recover for past and present infringement of the patent rights
asserted herein lt is, thus, understood that all allegations herein by SCEC are intended
as inclusive of both itself and its predecessor in interest, STATE PAVING CORP.

14_ Between 1989 and 1990, SCEC expended considerable time, effort and monies in the
development of an integrated column and pile for use in building structures in sandy soil.
SCEC’s designs and engineering specifications for such integrated column and pile were
both unique and proprietary to SCEC, and such fact was both communicated to and
known by the FDOT no later than 1992. FDOT subsequently acknowledged the value
and worth of such designs and engineering specifications as both innovative and unique
by acceptance and the incorporation thereof into FDOT’s specifications for the
construction of sound barrier walls built within the state of Florida from and after July
30, 1990 (the date of Executed Supplemental Agreement #2 VECP, for State Job No:
86070-3505). Pursuant to the foregoing agreement and Section 4-3.5.7 of the FDOT
Stana'ard Specificationsfor Road & Bridge Constructz`on (1986), FDO'I` paid SCEC fifty
percent (50%) of the savings realized and/or anticipated from such innovative and unique
designs and specifications for the aforementioned state job.

15. On June 29, 1990, inventor Michael C. Bone, an officer of STATE PAVING CORP.,
filed a United States patent application, Serial No. 545,557, which described the unique

and proprietary integrated column and pile for use in building structures in sandy soil

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incorporating Bone’s designs and engineering specifications; and, which further described
a unique and proprietary method for constructing the aforementioned integrated column
and pile. Concurrent with the filing of this application7 Bone assigned all right, title and
interest in said invention, patent applications and all patents issuing therefrom, to STATE
PAVING CORP., by an assignment, who thereafter executed an assignment to SCEC.

l6, The aforementioned application was subsequently divided, in accordance with the separate
and distinct inventions described therein, into two patent applications One application
was directed to the apparatus of the integrated column and pile for use in building
structures in sandy soil, and the second to a method for constructing such an integrated
column and pile. Each of these separate patent applications was ultimately allowed by
the United States Patent and Trademark Office as U.S. Pat. No. 5,234,288 (directed to the
method for constructing the integrated pile being and issued on August lO, 1993), and
U,S. Pat. No. 5,429,455 (directed to the integrated column and pile for use in building
structures in sandy soil and issued on July 4, 1995). Copies of these Letters Patents are
appended hereto as Exhibits “A" (method), and “B” (apparatus).

17. While the invention was being developed, SCEC entered into a contract with the FDOT
for construction of road improvements on I-95 (State Road 9) in Broward County, State
Job No. 86070-3505. After said invention was developed, SCEC presented documents
describing a design change for construction of a Noise Barrier Wall on 1-95, which design
incorporated one or more of the inventions described and claimed in Exhibits “A" and/or
“B”.

18. Upon information and belief, at all times pertinent hereto and no later than 1992, FDOT

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was aware that the sound barrier wall design and construction of SCEC’s VECP for State
Job No, 86070-3505 was the subject of a pending patent application

19. After the introduction and use of SCEC’s invention on the State Project No. 86070-3505,
FDOT solicited bids for additional state road project(s), which solicitation(s) described
a ground mounted sound barrier wall design utilizing the inventions owned by and/or
exclusively licensed to SCEC, and further included in such solicitation(s) the engineering
drawings and specifications which designs, engineering drawings and specifications
incorporated one or more of SCEC’s inventions

20_ Within or incident to the solicitation(s) alleged in paragraph 16 above, and with full
knowledge of SCEC’s proprietary rights and interest in the inventions for an integral
combination of a column and pile for use in building structures in a sandy soil, FDOT
specifically stated that the said wall design was “unpatented", which statement explicitly
and/or by implication, was calculated to be misleading and otherwise inaccurately
characterize SCEC’s proprietary designs, engineering drawings and specifications so as
to convey the impression that the designs, engineering drawings and specifications
developed by SCEC were freely available to all to use and copy without payment
therefore to SCEC.

21. FDOT contracts describing and requiring the construction of a ground mounted sound
barrier wall design utilizing SCEC’s proprietary designs, engineering drawings and

specifications and the patented inventions were ultimately awarded to:

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FDOT Bid letting- Project Barrier Wall Projected State Prime
Contract No. Completion Location (Square Cost Savings Contractor/
Dates (County) Feet) T 0 FDOT Sub
Contractor
86070-3505 9/27/89- Broward 208,801 $626,403 STATE
2/20/91 County, Fl PAVING
CORP.
99004-3420 10/31/90- Palm Beach 492,111 $1,476,333 RECCHI
3/12/92 County, Fl
86095-3463 8/28/91- Broward 130,437 $391,311 BALFOUR
10/15/95 County, Fl BEATTY/
RECCHI
86070-3506 9/23/92- Broward 274,469 $823,407 STATE PAV
6/1/94 County, Fl -ING CORP.
93220-3406/ 10/7/92- Palm Beach 28,495 $84,485 HARDAWA.
3445 7/13/94 County, Fl /RECCHI
93220-3412 7/27/94- Palm Beach 258,758 $776,274 MURPHY
4/19/96 County, Fl
72280-3424 12/6/95 Duval 310,229 $930,687 HUBBARD
Open County, Fl
93220-3426 1/24/96- Palm Beach 40,839 $122,517 SCEC
10/18/96 County, Fl
93220-3437 10/25/95- Palm Beach 44,089 $132,267 COMM.
Open County, Fl ASPHALT/
RECCHI
3220-3440, 1/29/97- Palm Beach 106,060 $318,180 HUBBARD
3441, and Open County, Fl
3443
97870-3313 1/29/97- Dade 99,600 $298,800 RECCHI
Open County, Fl
72001-3444 3/26/97- Duval 92,072 $276,216 HUBBARD
Open County, Fl
93220-3442, 7/30/97- Palm Beach 136,617 $409,851 HUBBARD
3439 Open County, Fl
TOTAL 2,222,5 77 $6,666,731

 

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22. ln accordance with FDOT's bidding instructions, neither the solicitation for bids nor the
winning bids by the COMPETING CONTRACTORS or SCEC included, as a cost of
construction, an allowance for payment of a royalty to SCEC, although SCEC’s patent
had issued prior to the date of the awards and/or dates of completion of the contracts to
the COMPETING CONTRACTORS.

23. FDOT has solicited bids for road construction projects from COMPETING
CONTRACTORS, and/or other competing contractors, which specify SCEC’s designs,
engineering drawings and specifications for an integral combination of a column and pile
for use in building structures in a sandy soil which incorporate one or more of SCEC’s
inventions Upon learning of such continued solicitations, SCEC filed a timely notice
of its objection to FDOT or its contractor bidders, further advised prospective bidders, in
writing, that all ground mounted noise walls, which were to be constructed in accordance
with the integral combination of a column and pile for use in building structures in a
sandy soil being specified by FDOT, were the subject of one issued patent and that a
second patent Was pending; and that the unauthorized use of SCEC’s designs,
engineering drawings and specifications for an integral combination of a column and pile
for use in building structures in a sandy soil was in violation of SCEC’s patent rights and
would subject both FDOT and the contractor(s) to liability for infringement This notice
was in accordance with 35 U.S.C. § 287 (hereinafter also "Statutory Notice”).

24. Subsequent to the aforesaid Statutory Notice, FDOT has and continues to specify SCEC’s
designs, engineering drawings and specifications for an integral combination of a column

and pile for use in building structures in a sandy soil. FDOT continues to solicit third

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parties to make, use and practice one or more of the inventions encompassed by SCEC’s
patents in violation of SCEC’s patent rights

25. Subsequent to the aforesaid Statutory Notice, FDOT has and continues to use SCEC’s
patented inventions, in that sound barrier walls incorporating SCEC’s apparatus patent
exist and are in use by FDOT, up to an including the time of the filing of this action

FlRST CLAIlVI FOR RELIEF
Direct Patent Infringement by FDOT

26. SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

27, Subsequent to the issuance of U.S. Pat. No. 5,234,288 (method), and with full knowledge
thereof, FDOT has commenced infringing said patent within this judicial district, and
elsewhere, by the unauthorized inducement and solicitation of others to make, use, offer
to sell or sell sound barrier walls in accordance with SCEC’s patented method

28, FDOT, by its solicitation of SCEC’s invention for road proj ects, has derived substantial
monetary benefit and gains, and has failed to pay just compensation for the use of
SCEC’s patented method.

29. SCEC is entitled to the exclusive use and enjoyment of its patent rights As a result of
FDOT’s continued infringement, SCEC has suffered and will continue to suffer
irreparable damages

30_ Unless FDOT is enjoined, it will continue its acts of infringement of SCEC’s patent
rights, cause SCEC to suffer irreparable harm to the unjust benefit, enrichment and gain
of FDOT.

31. Unless FDOT is enjoined, it will continue to induce others to infringe SCEC’s patent

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rights, and cause SCEC to suffer irreparable harm, to the unjust benefit, enrichment and
gain of FDOT.

32. FDOT’s acts of infringement have been willful and in conscious disregard to SCEC’s
patent rights, and, thus, comprise intentional infringement

33. SCEC has no adequate remedy at law and cannot obtain relief for infringement of its
patent rights, save in this Court, by an injunction, accounting, and damages

SECOND CLAl]VI FOR RELIEF
Direct Patent Infringement by FDOT

34_ SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

35. Subsequent to the issuance of U.S. Pat. No. 5,429,455 (apparatus), and with full
knowledge thereof, FDOT has commenced infringing said patent within this judicial
district, and elsewhere, by the unauthorized use of SCEC’s wall and column design on
state awarded road construction projects, and by its inducement and solicitation of others
to make, use, offer to sell and sell sound barrier walls in accordance with SCEC’s
patented invention

36. FDOT, by its unauthorized use and solicitation of use of SCEC’s invention on such road
projects, has derived substantial monetary benefit and gains, and has failed to pay just
compensation for the use of SCEC’s patented integrated wall and column invention

37 _ SCEC is entitled to the exclusive use and enjoyment of its patent rights As a result of
FDOT’s continued infringement, SCEC has suffered and Will continue to suffer
irreparable damages

38. Unless FDOT is enjoined, it will continue its acts of infringement of SCEC’s patent

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rights, and cause SCEC to suffer irreparable harm, to the unjust benefit, enrichment and
gain of the FDOT.

39. Unless FDOT is enjoined, it will continue to induce others to infringe SCEC’s patent
rights, and cause SCEC to suffer irreparable harm, to the unjust benefit, enrichment and
gain of FDoT.

40. FDOT’s acts of infringement have been willful and in conscious disregard to SCEC’s
patent rights, and, thus, comprise intentional infringement

41. SCEC has no adequate remedy at law and cannot obtain relief for infringement of its
patent rights, save in this Court, by an injunction, accounting, and damages

THIRD CLAlM FOR RELIEF
Direct Patent Infringement by Competing Contractors

42. SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

43. Subsequent to the issuance of U.S. Pat. No. 5,234,288 (method), and U.S. Pat. No,
5,429,455 (apparatus), and with full knowledge thereof, the COMPETING
CONTRACTORS have infringed said patent rights within this judicial district by the
manufacture, use, offer to sell and sale of sound barrier walls in accordance with SCEC’s
patented method and apparatus in the course of performing state construction contracts
on behalf of FDOT. By their actions, the COMPETING CONTRACTORS derived
substantial monetary gain and benefit, to the detriment and damage of the Plaintiff.

44, The COMPETING CONTRACTORS acts of infringement have been willful and in
conscious disregard to SCEC’s patent rights, and, thus, comprise intentional infringement

45, SCEC has no adequate remedy at law and cannot obtain relief for infringement of its

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patent rights, save in this Court, by an injunction, accounting, and damages

FOURTH CLAIM FOR RELIEF
Unfair Competition - 15 U.S.C. 1125(a)

46_ SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

47. The consuming public has come to know that SCEC owns the proprietary method for
manufacturing an apparatus comprising an integral combination of a column and pile for
use in building structures in a sandy soil and the apparatus itself as described hereinabove

48_ SCEC’s method of manufacturing an apparatus comprising an integral combination of a
column and pile for use in building structures in a sandy soil and the apparatus itself are
inherently distinctive and are used in commerce of the United States

49. FDOT has and continues to represent, by word and/or deed, in commerce of the United
States, that it has the right to solicit bids incorporating SCEC’s designs, engineering
drawings and specifications, and is authorized to use and practice SCEC’s method of
manufacturing its patented integral combination of a column and pile for use in building
structures in a sandy soil, which representations are false and known to FDOT to be false

50_ FDOT has diverted and continues to divert construction contracts from SCEC to third
parties, including the COMPETING CONTRACTORS, with the knowledge that SCEC
is the only authorized and legitimate source of construction services for the construction
of an integral combination of a column and pile for use in building structures in a sandy
soil, in accordance with U.S. Pat. No. 5,234,288 and U.S. Pat. No. 5,429,455.

51. FDOT has acted at all times without the authorization of SCEC.

52. As a result of the actions of FDOT, there is both a likelihood and/or actual confusion in

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the marketplace regarding the source or origin of SCEC’s exclusive novel and innovative
designs and patent rights therein for the construction of an integral combination of a
column and pile for use in building structures in a sandy soil and method therefor

53. As a result of the actions of FDOT, FDOT has and continues to unfairly compete against
SCEC and has unlawfully gained access to and utilized one or more of SCEC’s novel
and innovative designs and patent rights without just compensation to SCEC.

54. SCEC has no adequate remedy at law and cannot obtain relief for the unfair competition,
save in this Court, by an injunction, accounting, and damages

F[FTH CLAIM FOR RELIEF
Taking of Property without Due Process and Compensation - 42 U.S.C. 1983

55. SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

56. The laws of the state of Florida explicitly recognize SCEC’s rights to exclusive use and
enjoyment of its property, including intangible personal property, such as SCEC’s right
to the exclusive use and enjoyment of its proprietary designs, engineering drawings and
specifications for the construction of sound barrier walls, and U.S. patents, specifically,
U.S. Pat. No. 5,234,288 and U.S. Pat. No. 5,429,455.

57. The laws of the state of Florida explicitly recognize SCEC’s right to just compensation
for the use of its exclusive property, namely its proprietary designs, engineering drawings
and specifications for the construction of sound barrier walls Moreover, FDOT’s
Standard Specificatz'ons for Road & Bridge Constructr`on, §4-3_5 et seq. (1986, pp. 17-21),
provides for the compensation to a contractor, such as SCEC, for "instant savings" and

"collateral savings" upon acceptance and use of cost reduction proposals, hereinafter

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“Value Engineering Change Proposal” or “VECP", attached as Exhibit “C".

58. FDOT, as early as 1989, acknowledged SCEC’s proprietary ownership rights in its
designs, engineering drawings and specifications for the construction of sound barrier
walls, by an award of compensation to SCEC under its VECP submission for use in State
Job No. 86070-3505.

59. FDOT, no later than 1992, was on notice of SCEC’s application(s) for patent protection
directed to its proprietary designs, engineering drawings and specifications for the
construction of sound barrier walls

60. Notwithstanding FDOT’s actual knowledge of SCEC’s proprietary rights and interests
and the explicit FDOT policy for payment of compensation to contractors, such as SCEC,
for “instant savings" and "collateral savings” under its own Standard Specifications for
Road & Bria'ge Construction, Section 4-3.5 et seq., under color or right and state law,
FDOT has taken, adopted, used and continues to take, adopt and use SCEC’s proprietary
designs, engineering drawings and specifications for the construction of sound barrier
walls, without compensation to SCEC,

61, As a result of FDOT’s illegal activity and wrongful taking of SCEC’s property rights
without due process, SCEC has been deprived of its rights and/or privileges seemed to
it by the Constitution and laws of the United States

62. FDOT’s actions have been without legal justification and have been taken willfully and
with a complete disregard to SCEC’s intellectual property rights FDOT’s actions have
been and are intentional and calculated to deprive SCEC of its property rights without

fair, adequate and just compensation

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63. SCEC has no adequate remedy at law and cannot obtain relief for violation of its due
process rights, save in this Court, by an injunction, accounting, and damages

S]XTH CLAI]VI FOR RELIEF
Breach Of lmplied Contract

64. SCEC herein incorporates by reference paragraphs 12 to 25, inclusive, as if restated
herein

65. Pursuant to the FDOT Standard Specijications for Road and Bridge Construclion, §4-3.5
et. seq., the FDOT provides as a value engineering incentive to contractors, such as SCEC
and others, monetary consideration for the submission and acceptance of a Value
Engineering Change Proposal (“VECP").

66, At all material times hereto, the value engineering incentive program was in existence and
operative

67. ln accordance with the value engineering incentive program, SCEC submitted a VECP
directed to and within the scope of its patent rights for the method of manufacturing an
integrated column and pile for use in building structures in sandy soil, and the apparatus
thereof The VECP was accepted on or about July 30, 1990 as evidenced by an
Executed Supplemental Agreement #2 for State Job No. 86070-3505.

68. Upon completion of the aforementioned contract job, FDOT compensated SCEC fifty
percent (50%) of the instant contract savings in accordance with §4-3.5.7 of the Standard
specifications for Road and Bridge Constmctl'on (1986)4

69. Subsequent to the approval and acceptance of SCEC’s VECP by FDOT in 1990, FDOT
amended its Standard Specijicatz`ons for Road and Bridge Construction, §4-3.5.8 by

Special Provision on or about November 17, 1992 to provide for FDOT's future use to a

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VECP to be "royalty free and without fee, other costs or surcharge".

70. SCEC’s approved VECP has been, and continues to be, utilized by FDOT subsequent to
SCEC’s initial State Job No. 86070-3505 without payment therefor of a fifty percent
(50%) sharing of cost savings to SCEC.

71. FDOT has received, and continues to receive, the benefit of its bargain in conjunction
with the use of SCEC’s VECP.

72. FDOT has continued, and continues, to realize a cost savings as a result of SCEC’s
VECP, however, without further payment to SCEC represented by fifty percent (50%) of
that cost savings and any collateral savings

734 All conditions precedent have been performed by SCEC.

74. FDOT is in breach of its obligation to pay SCEC 50% of all costs savings realized from
the use of SCEC’s VECP hereinabove stated

75. SCEC has no adequate remedy at law and cannot obtain relief for breach of its contract
with FDOT, save in this Court, by an injunction, accounting, and damages

DEMAND FOR JUDGMENT
WHEREFORE, SCEC demands judgment as follows:

(a) That Defendants, their agents, servants, employees, and attorneys and all persons acting

on behalf of the Defendants, be permanently enjoined from infringing United States Patent Nos.

5,234,288 and 5,429,455 by making, using, offering to sell or selling the inventions predicated

on SCEC’s patented apparatus and method', or by inducing others to commit any such acts of

infringement;

(b) That all structures incorporating SCEC’s inventions be removed and/or modified so as

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to effectively cease and desist the unauthorized use of the SCEC’s inventions in violation of
its exclusive patent rights;

(c) That SCEC be awarded damages incurred as a result of Defendants’ unlawful acts
complained of herein, such damages including without limitation all such relief as is accorded
the prevailing party under 35 U.S.C. 284; 15 U.S.C. 1117; and 42 U.S.C. 1983;

(d) That said patent infringement damages be trebled due to the willful nature of Defendants’
acts of infringement and unfair competition, and that a reasonable attorneys’ fee be awarded to
Plaintiff;

(e) That the Defendants be required to account for and pay over to SCEC all monies realized,
profits made, and/or costs saved by Defendants from the unlawful use of said patents;

(f) That Defendant FDOT be required to pay fifty percent (50%) of construction costs savings
and collateral savings on all jobs in which SCEC’s VECP was adopted and used, and;

(g) That SCEC have such other relief as this Court deems proper, together with a reasonable

attomeys' fee, interest and costs

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DEMAND FOR A JURY 'I`RIAL

Plaintiff demands a juryl trial on all issues so triable.

RI'CHARD s Ross, EsQ.
Attomey for Plaintiff
State Contracting and Engineering Corp.
Fla. Bar No. 436,630
Senator Building
13899 Biscayne Blvd_
Suite 107
North Miami Beach, Florida 33181
Tel. (305) 945-7444
Fax. (305) 945-7354

 

 

Of Counsel:
John H. Faro, Esq.
P_O_ Box 4904
Miami, Florida 33149-4904
VERIFICATION OF COMPLAINT

Timothy M. Smith verifies that he has reviewed the foregoing complaint on behalf of the
plaintiff, and that to the best of his knowledge, information, and belief, the allegations contained

therein are true and correct
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ark
State Contracting mdmg Corp.
Dated: § j / Z[ 52 2 By: Timothy M. Smith, President

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. The Cornmissioner of Patents

§ l/I:gi and Trademarks
fu?/LZM. Has received an application for a patent
. for a new and useful invention T he title
5 mg and description of the invention are en-
f closed T he requirements of law have
been complied with, and it has been de-

O termined that a patent on the invention
shall be granted under the law.

g%neYZ/C'&/ Therefore, this

United States Patent

 

Grants to the person or persons having
title to this patent the right to exclude
others from making, using or selling the
invention throughout the United States
of America for the term of seventeen
years from the date of this patent, sub-
ject to the payment of maintenance fees
as provided by law.

 

 

 

 

 

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lUmted States Patent nn nn Patent Nnmben 5,234,288

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iii Lauderdale, Fla.

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|1[22] Filed: Aug. 29, 1991 Arrorney. Agenr. or Ftnn-Joseph Zallen

mined U.s. Appnnnunn nm 1571 ABSTRACF

.[63] continuation nts¢r. No. 545.557, Jnn. 29, 1990, nbnn- A'j i'j‘°g"] °°mbi““i°“ °f column md Pilc {°" °’¢ in
`._~j don¢d. building structures in n sandy soil, The method of for-

f"`[sl] rne. ci.3 ................................................ Eozi) s/ao m“"°" " '° p'°"‘d° ° g’°“"d ’"“’ °f’“i“b'° d°p‘h ‘”d

§ ' . width formed preferably by an hydraulic-powered au-
f.`5[52] U.S. Cl. .................................... %55//223393,_44%55//225361, gen The sims is then ruled with a ccmcmitious .hmy_ A
;' [ss] Fi¢ld nr swan ............... 405/239, 255,'256, 233, ’°i”'°'°°d P’°°”' °°“°’°‘° °°'“””' " P'°"’d°d h"'l”g

405 232' 231' 230 reinforcing bars extending s substantial length out ofits
/ bottom. The exposed bars are inserted into the slurry

-" [561 R¢f"¢n€¢$ C"¢d until the column merges with the slurry. Upon the hard-
U,S. PATENT DOCUMENTS ening of the slurry, the result is an integral column and
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INTEGRATED COLUMN AND PlLE

   
  
  
   
   
  
 

` This application is a continuation of the application
iSer. No. 07/545,557 filed lun. 29, 1990 and now aban-
‘doned.

BACKGROUND OF THE lNVENTlON

. This invention relates to a column which can be used
j ln soil having a high water table. in particular it relates
:to a combination of column and pile for use in s sandy
'i loil.
ln sandy soils auger-cast piles have been used to carry
: foundation loads. ln a typical situation, an hydraulic-
` auger with continuous flighting is rotated into
a predetermined depth. A mixture ofsand and
then pumped through a hole in the auger`

y soil with anchor bolts at the top to connect to the col-
; umns or post which it is intended to support
ln the past when a contractor attempted to use con-

Othcr objects and advantages ofthis invention will be
apparent from the description and claims which follow
l taken together with the appended drawings

SUMMARY OF lNVENTlON

The method of this invention comprises first prepar-
ing a hole of sufficient depth and cross-section Then a
' mass of suitable,

’ and pile firmly rooted in the ground and capable ofthe
support generally attributable to a column of its size,
lhape and composition.

One method of providing the mass of cementitious
material in a hole ofsui'table depth and width is to use an
auger having a central channel

retaining means or valve is opened to that the ccmenti~
ti'ous material now flows into the empty space caused by

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tend out of the precast column. v

The columns that can be used in this invention vary
widely in size and shape as well as intended use. They
can be used in building structures or, as shown in the
illustrations, as posts for support of walls such as noise
' ' ' . The described

mined strength
BRIEF DESCRIPTION OF DRAWINGS

FlG. 1 is a vertical section partially broken away
showing a hollow-shafted continuous-flight auger
which is being screwed into an earth situs to drill a hole
of requisite depth.

FlG. 2 is a vertical cross-section showing the drill
situs filled with cementitious material

FlG. 3 is a front view of a reinforced concrete col-
umn with exposed reinforcing bars extending out of the
bottom of the column.

FlG. 4 is a perspective view with partial cutaway and
partial vertical section showing a final product of the
invention, in this instance an integral post and pile.

FlG. 5 is a cross-section along line 5_5 of FlG. 4.

FlG. 6 is a transverse section along line 6_6 of FlG.
3.

FlG. 7 is a perspective view with partial cutaway and
a partial vertical section showing a comer ofa building
whose columns are made in accordance with this inven~
tion.

FlG. 8 is an advertising sign of very large dimension
supported by a single integrated column and pile made
in accordance with this invention.

SPEClFlC EXAMPLES OF INVENTION

As illustrated in FlGS. 1-6, the first step is to form a
hole ofsuitable dimensions in the earth. As illustrated in
FlG. 1 an auger 11 having a continuous flight 12 re~
moves earth 14 as it penetrates the soil 13 to form the
A. ln a method similar to that described in
the Turzillo patent, U.S. Pat. No. 3,5|2,366, cementi-
tious slurry 15 is pumped into the central channel of
auger 11 until it fills the hole A when the auger ll is
withdrawn While the cementitious slurry 15 is still wet
a precast concrete member 20, in this case a post for use
in supporting noise barrier walls, is inserted into the
slurry. Post 20 has exposed reinforcing bars 21-26 ex-
tending from its bottom. These bottom extensions are
immersed in the slurry until the bottom of the column
merges with the slur'ry. Whi'le the cementitious material
is setting and in order to prevent misaligriment, false~
work, as illustrated in wood members 27-29, can used as
a temporary support Depending on the shape and size
of the column, falsework is not always needed.

The building structure illustrated in FlG. 7 has its
foundation and columns constructed in a similar manner
as illustrated in FlGS. 1-6. The dimensions are selected
in accordance with proper structural engineering prin-

ciples.
Building column 101 extends from floor 105 through

floor 104 and has reinforcing bars 1010 which extend

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most of the depth of ground hole 108 and is covered by
the hardened grout 1084 Similarly, column 102 extends
from door 105 through floor 104 to ground hole 109
filled with hardened grout 112. Column 103 is shown in
partial breakaway to show its extended reinforcing bars
1030 in hole 110 filled with grout 113. The remaining
floors 106. 107, and columns of the building are formed
in a conventional manner.

The great strength of the integrated column-pile of
this invention enables it to be utilized as a single support
for a very large advertising sign 200. as for example, a
sign 30 feet long as shown in FlG. 8. A hole 202 of
about four foot diameter was prepared in ground 204
and filled with cementitious slurry 202 to receive the
reinforcing bars 2010 extending from the bottom of
precast concrete column 201 which has a diameter of
two feet. The sign 205 is attached to the upper portion
of the column. Hitherto. complicated and expensive
framing supports were required for such signs.

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1 claims

1. A method of forming a ground-supported column
or post, comprising the steps of providing a ground situs
of suitable depth and width. filling said situs with a
cementitious slurry, providing a reinforced. precast
concrete member whose reinforcing bars extend out of
the bottom of said member a substantial length beyond
said bottom to form an exposed portion, inserting said
exposed portion into said slurry until said member
merges with said slurry, and permitting said slurry to
harden. thus providing an integral column and pile set
in the ground.

2. The method of claim 1 wherein the ground situs
and slurry is provided by an auger which removes earth
as it pcnetrates the soil to form the hole and permits
pumping the cementitious slurry into the hole.

3. The method ofclaun 1 wherein falseworlt is used to
keep the precast concrete member in position while the
slurry is hardeningl

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The Commissioner of Patents

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nt/Z"ed Has received an application for a patent
for a new and useful invention. The title

5 M and description of the invention are en-
closed. The requirements of law have
been complied with, and it has been de-

O termined that a patent on the invention
shall be granted under the law.

g%/)er/C‘C Therefore, this

United States Patent '

Grants to the person or persons having
title to this patent the right to exclude
others from making, using or selling the
invention throughout the United States
of America for the term of seventeen
years from the date of this patent, sub-
ject to the payment of maintenance fees
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Commissioner of Patentx and Trademark

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Michael C. Bone, Pembroke Pines.
Fla.

State Paving Corporation, Fort
Lauderdale, Fla.

The portion of the term ofthis patent
subsequent to Aug. 10, 2010 has been
disclaimed

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Jun. 28, 1993

5,234,288, which is a continuation of Scr. No. 545,557,
Jun. 29, 1990, abandoned.

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551 §§ 405/233; 405/256
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[11] Patent Number:

[45] Date of Patent:

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* Jul. 4, 1995

 
 
  
  
  

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Primary Examiner-Dennis L. Taylor
Atrorney, Agent. or Firm-Joseph Zallen

[57] ABsrRAcr

An integral combination of column and pile for use in
building structures in a sandy soil, The method of for-
mation is to provide a ground situs of suitable depth and
width formed preferably by an hydraulic-powered au-
ger. The situs is then filled with a cementitiou_s slurry. A
reinforced precast concrete column is provided having
reinforcing bars extending a substantial length out of its
bottom. The exposed bars are inserted into the slurry
until the column merges with the slurry. Upon the hard-
ening ol' the slurry, the result is an integral column and
pile set into the ground.

3 Claims, 4 Drawlng Sbeets

 

   

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l » U.S. Patent July 4, 1995 Sheet 4 of 4 5,429,455

 

 

 

 

 

 

 

  
  

    
 

          
 

    

 

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rNTEcRATED COLUMN AND PtLE

BACKGROUND OF lNVENTlON

This is a division of application Ser. No. 07/758,43|,
filed Aug. 29, l99l, now U.S. Pat. No. 5,234,288 which
is a file wrapper continuation of Scr. No. 07/545,557,
filed Juni 29, 1990 now abandoned.
This invention relates to a column which can be used
in soil having a high water table, ln particular it relates
to a combination of column and pile for use in a sandy
soil.
ln sandy soils auger-cast piles have been used to carry
foundation loads. In a typical situation, an hydraulic-
powered auger with continuous flighting is rotated into
the soil to a predetermined depth. A mixture ofsand and
cement is then pumped through a hole in the auger`s
stem while the auger is being slowly withdrawn from
the hole, The resultant cementitious mixture is of
greater density than the surrounding soil and thus acts
to support the sides of the hole, This supporting action
is especially useful in locations such as Florida where
loose sands and a high water table make drill holes
unsuitable After the hole has been filled with cementi-
tious material and the auger removed, steel reinforce-
ment is inserted so that the final product is a steel rein-
forced concrete support column or pile cast within the
soil with anchor bolts at the top to connect to the col-
umns or post which it is intended to support.

ln the past when a contractor attempted to use con-
` crete posts or columns with auger-cast piles, consider-

able amounts of the cementitious grout were displaced
when the post was inserted into the hole, sometimes as
much as one-half the volume of the hole. Accordingly,
this has not been a feasible method.

OBJECTS OF lNVENTlON

The present invention avoids the problems of the
prior art. lt provides a unitary, integral column and pile
seated in the ground, with no anchor bolts or the like
being required. lt provides such an integral column and
pile which can be used in structures of all sorts, includ-
ing buildings, posts which support panels, and large
advertising signs.

Other objects and advantages ofthis invention will be
apparent from the description and claims which follow
taken together with the appended drawings.

SUMMARY OF lNVENTlON

The method of this invention comprises first prepar-
ing a hole of suflicient depth and cross-section. Then a
mass of suitable, wet, cementitious material is inserted
into the hole, a plurality of reinforcing bars extending
out of the bottom of the column. The column is placed
on the mass, until the bottom of the column member
merges with the mass. 'l`he cementitious maten'al is then
permitted to harden. The result is an integral column
and pile firmly rooted in the ground and capable ofthe
support generally attributable to a column of its size,
shape and composition

One method of providing the mass of cementitious
material in a hole ofsuitable depth and width is to use an
auger having a central channel. As the auger rotates and
cuts into the earth, soil is removed upwardly. Cementi-
tious material is pumped through the channel which has
a retaining means at the bottom. At the proper time the
retaining means or valve is opened to that the cementi-
tious material now flows into the empty space caused by

 

 

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the soil removal by the auger. When the auger is with-
drawn, the pool of cementitious material is now avail-
able to receive the exposed reinforcing bars which ex-
tend out of the precast column.

The columns that can be used in this invention vary
widely in size and shape as well as intended use. They
can be used in building structures or, as shown in the
illustrations, as posts for support of walls such as noise
barriers or large advertising signs. The described
method avoids the necessity for attaching a column or
post to a set of reinforcing bars and/or anchor bolts
separately inserted into the pool of cementitious mate-
ria|. False-worl< can be used to keep the precast column
and its extending reinforcing bars in proper orientation
until the cementitious material has reached a predeter-
mined strength.

BRIEF DESCRIPTION OF DRAWINGS

FlG. l is a vertical section partially broken away
showing a hollow-shafted continuous-flight auger
which is being screwed into an earth situs to drill a hole
Of requisite depth.

FlG. 2 is a vertical cross-section showing the drill
situs filled with cementitious material

FlG. 3 is a front view of a reinforced concrete col-
umn with exposed reinforcing bars extending out ofthe
bottom of the column.

FlG. 4 is a perspective view with partial cutaway and
partial vertical section showing a final product of the
invention in this instance an integral post and pile.

FlG. 5 is a cross-section along line 5-5 of FIG. 4_

FIG. 6 is a transverse section along line 6_6 of FIG.
3.

FlG. 7 is a perspective view with partial cutaway and
a partial vertical section showing a corner ofa building
whose columns are made in accordance with this inven-
tion.

FlG. 8 is an advertising sign of very large dimension
supported by a single integrated column and pile made
in accordance with this invention.

SPECIFIC EXAMPLES OF lNVENTlON

As illustrated in FlGS. 1-6, the first step is to form a
hole of suitable dimensions in the earth. As illustrated in
FlG. l an auger ll having a continuous flight 12 re-
moves earth 14 as it penetrates the soil 13 to for'm the
desired hole A. ln a method similar to that described in
the Turzillo patent, U.S. Pat. No. 3.5|2,366, cementi-
tious slurry 15 is pumped into the central channel of
auger ll until it fills the hole A when the auger ll is
withdrawn While the cementitious slurry 15 is still wet
a precast concrete member 20, in this case a post for use
in supporting noise barrier walls, is inserted into the
slurry. Post 20 has exposed reinforcing bars 21-26 ex-
tending from its bottom. These bottom extensions are
immersed in the slurry until the bottom of the column
merges with the slurry. While the cementitious material
is setting and in order to prevent misalignment, false-
work, as illustrated in wood members 27-29, can used as
a temporary support Depending on the shape and size
of the column, falsework is not always needed.

The building structure illustrated in FlG. 7 has its
foundation and columns constructed in a similar manner
as illustrated in FlGS. l-6. The dimensions are selected
in accordance with proper structural engineering prin-

ciples.

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Building column 101 extends from floor 105 through
floor 104 and has reinforcing bars 1010 which extend
most of the depth of ground hole 108 and is covered by
the hardened grout 1080. Similarly, column 102 extends
from floor 105 through floor 104 to ground hole 109
filled with hardened grout 112. Column l03 is shown in
partial breakaway to show its extended reinforcing bars
103a in hole 110 filled with grout 113. The remaining
floors 106, 107, and columns of the building are formed
in a conventional manner

The great strength of the integrated column-pile of
this invention enables it to be utilized as a single support
for a very large advertising sign 200, as for example. a
sign 30 feet long as shown in FlG. 8. A hole 202 of
about four foot diameter was prepared in ground 204
and filled with cementitious slurry 202 to receive the
reinforcing bars 2010 extending from the bottom of
precast concrete column 201 which has a diameter of
two feet. The sign 205 is attached to the upper portion
of the column. Hitherto, complicated and expensive
framing supports were required for such signs.

l claim:

lt A precast reinforced concrete member containing
reinforcing bars which have exposed portions extending
beyond one end of the member and parallel to the longi-
tudinal dimension of the member; the number, size and
length of such exposed portions being such w to pro-
vide sufficient strength when the end of said concrete
member is merged with and the bars inserted into a
foundation pile of initially wet, cementitious niaterial,
which material is then allowed to set; said exposed
portions being further characterized in being com-

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pletely surrounded by said cementitious materia|; said
concrete member and said pile being merged without
mechanical attachment

2. A ground-supported structure comprising the inte-
gral combination ofa precast column and a foundation;
said foundation comprising a mass of initially wet ce-
mentitious material in a hole in the ground; said column
comprising a precast reinforced concrete member
whose reinforcing bars extend out of said member’s
bottom parallel to the longitudinal dimension of the
member into said cementitious material and are com-
pletely surrounded by said cementitious material, the
bottom of said column portion being merged with said
cementitious material to form an integral structure em-
bedded in the ground when said cementitious material
has hardened; said column and said foundation being
merged without mechanical attachment

3. The combination of a post component and a foun-
dation component; said foundation component occupy-
ing a hole in the ground and comprising initially wet,
cementitious material; said post component comprising
a precast reinforced concrete post having reinforcing
bars which extend out from the bottom of said member
parallel to the longitudinal dimension of the member
and into said cementitious material, are completely
surrounded by said cementitious material, and merge
with said foundation component to form an integral unit
embedded in the ground when said cementitious mate-
rial has hardened; said post component and said founda-
tion component being merged without mechanical at-
tachment.

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FLORIDA

DEPARTMENT
OF
TRANSPORTATION

Standard Specifications
for
Road and Bridge
Construction

Edition of 1986

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4-3.5.1

_ in the Contract. The Engineer will promptly investigate the

conditions, and if he finds that such conditions do materially
so differ and cause an increase or decrease in the Contractor"s
cost of, or the time required for, performance of any part of the
work under the contract, whether or not changed as a result of
such conditions, an equitable adjustment will be made and the
contract modified in writing accordingly.

No claim of the Contractor under this clause will be
allowed unless the Contractor has given the notice required
above; provided, however, the time prescribed therefore may
be extended b the Department.

No claim y the Contractor for an equitable adjustment
hereunder will be allowed if asserted after final payment
under this Contract.

4-3.5 Value Engineering Incentive:

4-3.5.1 Intent and Objective:

(1) This Subarticle applies to any cost reduction
proposal (hereinafter referred to as a Value Engineering
Change Proposal or VECP) initiated and developed by the
Contractor f`or the purpose of refining the contract documents
so as to contribute to design cost effectiveness or si ificantly
improve the quality of the end result. This Subartic e does not,
however, apply to any such proposal unless it is identified by
the Contractor, at the time of its submission to the
De§artment, as a proposal submitted pursuant to this
Su article.

(2) VECPS contemplated are those that would result in
net savings to the Departrnent by roviding either: (1) a
decrease in the cost of performance ofthe Contract, or; (2) a
reduction in cost of ownership (hereinafier referred to as
collateral costs) of the work rovided by this Contract_,
regardless of acquisition costs. V CPS must result in savings
Without impairing any essential functions and characteristics
Such as safety, service, life, reliability, economy of operation,
ease of maintenance, aesthetics and necessary standard
design features. However, nothing herein recludes the
Submittal of VECPS where the required unctions and
chtiracteristics could be combined, reduced or eliminated as

emg nonessential or excessive for the function served by the
Work involved.

(3) Proposed chan es in the basic design of a bridge or of
al-lflvernent system, or which would require additional ri ht of
Way Will not nunnally be given consideration as a V CP.
Subst_itution of bid items established in this contract or
substitution of another alternate bid item for the one on which

9 Contractor bid will not be allowed under this Subarticle. A
_ C_P Submittal based on the use of borrow material from
mt 111 the project limits will not be considered.

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4-3.5.1

As an exception to the above requirements when the
work includes structures that have characteristics making
concrete segmental construction economically favorable
when compared with the cost of the plan design, the
Department will accept for consideration a Value Engineer-
ing Proposal substituting concrete segmental construction
designs submitted by the Contractor,

4-3.5 .2 S ubcontractors:

The Contractor is encouraged to include the provisions
of this Subarticle in contracts with subcontractors The
Contractor shall encourage submission of VECPs from
subcontractors; however, it is not mandatory that VECPs be
submitted nor is it mandatory that the Contractor accept or
transmit to the Department VECPs proposed by his subcon-
tractors.

4-3.5.3 Data Requirements:

As a minimum, the following information shall be
submitted by the Contractor with each VECP;

(1) A description of the difference between the existing
contract requirement and the proposed chan e, and the
comparative advantages and disadvantages inc uding justi-
fication for modifying the characteristic of a work item.

(2) Separate detailed cost estimates for both the
existing contract requirement and the proposed change, and
an estimate of the chan e in contract price including
consideration of the costs of evelopment and implementation
of the VECP and the sharing arrangement set forth
hereinafter

(3) An itemization of plan details, desi standards or
specifications that must be changed if the V CP is adopted
and include any quantity variation.

(4) An estimate of the effects the VECP would have on
collateral costs to the Department, includin an estimate of
the sharing that the Contractor requests e paid by the
Department upon approval of the VECP.

(5) Engineering or other analysis in sufficient detail to
identify and describe each requirement of the contract whic
must be changed if the VECP is accepted, with recommenda-

tion as to how to accomplish each such change and its effect on
unchan ed work. When complex engineering analyses are
require the Department shall require the analyses to be
p§rforrli{ied by a prequalified consultant in the applicable claB5
o wor .

(6) A statement of the time by which approval of the
VECP must be issued by the Department to obtain the totl_ll
estimated cost reduction during the remainder o

Contract, noting any effect on the contract completion time OY

delivery schedule.

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4~3.5.5

4-%5.4 Processing Procedures:

wo copies of each VECP shall be submitted one to

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Ehngiéieer, or his duly authorized representative, and one t:
t e epartment_ s Value Engineering Office. VECPs will be
processed expeditiously; however, the Department will not be
iable for any delay in acting upon a VECP submitted
pililrsuant to this Subarticle. The Contractor may withdraw in
w_ ole or in part, a VE‘CP not acce ted by the Department
within the period s ecified in the ECP. The Department
shall not be liable or VECP development cost in the case
where 'IahV§CP_ is reje}slcted or withdrawn.

e ngineers all be the sole judge of the acce t b'l`
of a VECP and of the estimated net savin s in conspiriicltildh
costs from the adoption of all or any part o such proposal ln
determining the estimated net savin s, the right is reserved
§§ di_sregar the contract bid prices i , in the judgment of the

ngineer, such prices do not represent a fair measure of the
value oT§!woé'k t_o be performed or to be deleted.

e ngineer may modify a VECP, with th -
rence of 'the_ Contractor, to make it acceptable(i clofmaliiry
;i}i!od`i'fication increases or decreases the savings resultin from

he EQP, the Contractor’s fair share will be determine u on
t e bars_l'i]:s1 oféthe_ VECP as modified p
g e ngineer may accept, in whole or art V
::bmit_ted pursuant to this Subarticle by givin§ they §on'§‘(a:£
S‘rbwri£i_ttlen notice thereof reciting acceptance under this
mene; 1ic e. However, pending execution of a formal supple-
mr Sl:ialiig;;\lz;rli§n)tbcl)r urtil§sts othefi_'wise directed, the Contrac-
iga e 0 er orm ` `
terms lo`f the existing contrac}f. m accordance wlth the
' n approved VECP shall be finalized throu h
§;lti_;able ad ustment in the contract price and ti§ne adi`
mrs 1:'m:nce ylthe execution of a sup lemental agreement
notatia]n to t _e provisions of this Subarticle bearin a
any othn so stating Whe_re an a§proved VECP also invo ves
and T er applicable Article of t is contract such as "Default
Work §r;i!iiii§tit<)n of Contract,” “Temporar Suspension of
cited', x ra Work, then these Artic es shall also be
4-3.5.5 Com utati`ons or Ch `
S Per armance: f ange in Contract Cost of
_ . eparate estimates shall be
e l pre ared for b t
e§{l£;igeco§iltract requirement and the rd)posed changoe.hEati}dlei
a propria: all consist of an itemized) breakdown utilizing
ntracto e Department bid items of all costs of the
r and all subcontractors7 work in sufficient detail to

show unit ' '
equipment quantities and costs of` labor, materials and

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4-3.5.5

Contractor development and implementation costs for
the VECP shall be included in the estimate for the proposed
change, but will not be recoverable lf the VECP is adopted,
the Contractor’s share of the savings as defined hereinafter
sh§é:l be considered full compensation to the Contractor for the
V P.

Department costs of processing or implementation of a
VECP shall not be included in the estimate. However, the
Department reserves the right where it deems such action
appropriate, to re uire the Contractor to share in the
Department’s cost o investigatin a VECP submitted by the
Contractor as a condition of consi ering such ro osal. Where
such a condition is imposed the Contractor s al indicate his
acceptance thereof in writing, and such acceptance shall
constitute full authority for the Department to deduct
amounts payable to the Department from any monies due or
that may become due to the Contractor under the contract

ln preparing the estimates, no allowance will be made
for overhead, profit, and bond. The resultant net reduction in
contract cost of perfornance shall be shared as stipulated
hereinafter.

4-3.5.6 Computations for Collateral Costs:

Se arate estimates shall be prepared for collateral
costs of oth the existing contract requirement and the
Eroposed change. Each estimate shall consist of an itemized

reakdown of all costs and the basis for the data used in the
estimate Cost benefits to the Department include, but are not
limited to: reduced costs of operation, maintenance or repair,
and extended useful service life. lncreased collateral costs
include the converse of such factors

Computatioris shall be as follows:

(1) Costs shall be calculated over a 20-year period on a
uniform basis for each estimate and shall include Department
costs of processin or implementing the VECP.

(2) If the di erence in the estimates as approved by the
Department indicate a savings, the Contractor shall divide
the resultant amount by 20 to arrive at the avera e annual
net collateral savings The resultant savings shall e shared
as stipulated hereinafter.

(3) ln the event that agreement cannot be reached on
the amount of estimated collateral costs, the Engineer shal
determine the amount. His decision is final

4-3.5.7 Sharing Arrangements:
lf a VECP is accepted by the Department, the
Contractor is entitled to share in instant contract savings an
collateral savings not as alternatives but rather to the
exent provided for in this Subarticle. For the purposes 0
sharing under this Subarticle, the term “instant contract"

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4-3.5.7

shall not include any changes to or other modifications of this
Contract, executed subsequent to acceptance of the particular
VEC'P, by which the Department increases the quantity of
any item of work or adds any item of work. lt shall, however,
include any extension of the instant contract through exercise
of an option (if any) provided under this Contract after
acceptance of the VECP.

Except for innovative ideas the Contractor and De-
partment shall each receive 50 ercent of the net reduction iii
the cost of performance of this gontract. For innovative ideas
§hlei reduction in the cost of performance shall be shared as
o ows:

 

Accrued Net Contractor's De rtment’s
Savings Share % §Zare %
Less than $25,000 100 0
$25,000 to $50,000 75 25

Over 350,000 50 50

_lf a chan e is identical or similar to a reviou l
submitted VEC or an idea previously utilizd]d b tsh§
Department it will not be considered an innovative i ea.

l When collateral savings occur, the Contractor shall
receive 20 percent of the average one year’s net collateral
savings

The Contractor shall not receive instant savings or
collateral savin s shares on optional work listed in this
Contract, until t e Department exercises its option to obtain
that work.

4-3.5.8 Department’s Future Ri hts to a VECP.' In the
event of acceptance of a VECP. the ontractor hereby grants
to the Department all rights to use, duplicate or disclose, in
whole or in part, in any manner and for any purpose
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4-4 Extra Work.

Whenever unanticipated work Which is not covered by a
Ic>(r)ice in_ the contract is found essential to the satisfactory
Clnpletion of the contract within its intended soo e, the
moritractoi' shall perform such extra work under a upple-
execntal Agreement, subject to the provisions of 4-3.2 and 7 -17,
tha:pt_ that when the character of the extra work is such
perfé in the opinion of the Engineer, the estimated cost of

e l'mance cannot be determined within a reasonable
gree of accuracy in advance, or should the Contractor and

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28 USC §§ 1331,
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